        Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 1 of 32




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


TEXAS LEAGUE OF UNITED LATIN
AMERICAN CITIZENS, et al.,

              Plaintiffs,

v.                                               Civil Action No. 1:20-cv-1006-RP

GREG ABBOTT, in his official capacity as
Governor of Texas, et al.,

              Defendants.


PLAINTIFFS’ EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER
                  AND A PRELIMINARY INJUNCTION


Danielle Lang*                                 Chad W. Dunn (Tex. Bar No. 24036507)
Mark P. Gaber*                                 BRAZIL & DUNN
Ravi Doshi*                                    4407 Bee Caves Road
Molly Danahy*                                  Building 1, Ste. 111
Caleb Jackson*                                 Austin, TX 78746
CAMPAIGN LEGAL CENTER ACTION                   (512) 717-9822
1101 14th Street NW, Ste. 400
Washington, DC 20005
(202) 736-2200

*Motions for admission pro hac vice pending
Luis Roberto Vera, Jr.                         K. Scott Brazil (Tex. Bar No. 02934050)
LULAC National General Counsel                 BRAZIL & DUNN
The Law Offices of Luis Vera Jr., and          13231 Champion Forest Drive
Associates                                     Suite 406
1325 Riverview Towers, 111 Soledad             Houston, TX 77069
San Antonio, Texas 78205-2260                  (281) 580-6310
(210) 225-3300
                                   Counsel for Plaintiffs
              Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 2 of 32




                                                   TABLE OF CONTENTS



INTRODUCTION .......................................................................................................................... 1
FACTUAL BACKGROUND ......................................................................................................... 1
   I.    The Governor’s July 27 Order Expanding Early Voting Days and Permitting Absentee
         Ballot Drop-Off Prior to Election Day ................................................................................ 1
   II. October 1 Order ................................................................................................................... 3
   III. The Burden on Voters .......................................................................................................... 4
   IV. USPS Delays ........................................................................................................................ 6
   V. No Security Interest in Restricting Number of Ballot Drop-off Sites ................................. 8
   VI. Sudden Burdens on Election Officials ................................................................................. 9
ARGUMENT .................................................................................................................................. 9
   I.    Plaintiffs Are Likely to Succeed on the Merits of their First and Fourteenth
         Amendment Claim of Discriminatory, Undue Burdens on the Right to Vote. ................. 10
          A. The Governor’s Order Imposes a Significant and Discriminatory Burden on
             Voters ......................................................................................................................... 12
                 1.    The Governor’s Order Imposes Significant and Unnecessary Burdens on
                       Voters ................................................................................................................. 12
                 2.    The Governor’s Order Imposes Discriminatory Burdens on Voters. ................. 15
          B. The Governor’s Order Also Worsens Election Officials’ Administrative Burdens
             and Complicates their Effort to Provide a Safe and Secure Ballot Return Process. .. 19
          C. The Governor’s Order Is Not Justified By Its Purported Interest In Advancing
             Election Security. ....................................................................................................... 21
   II. Plaintiffs Are Likely to Succeed on their Equal Protection Claim. ................................... 23
   III. Plaintiffs Will Be Irreparably Harmed if the Governor’s Order Is Not Enjoined. ............ 27
   IV. The Balance of the Equities Weighs in Favor of Plaintiffs. .............................................. 28
CONCLUSION ............................................................................................................................. 29




                                                                       i
          Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 3 of 32




                                        INTRODUCTION

       Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs respectfully move the Court for

a temporary restraining order and preliminary injunction on Counts 1 and 2 of their Complaint to

enjoin Defendants from enforcing the portion of Governor Abbott’s October 1, 2020 Executive

Order (the “Governor’s Order”) limiting Texas county election officials to providing voters with

just one absentee ballot drop-off site per county. Because of the urgency of this matter, Plaintiffs

request that the Court enter a temporary restraining order to remain in effect pending a hearing and

resolution of Plaintiffs’ motion for a preliminary injunction, in order to return to the status quo ex

ante—prior to issuance of the October 1 Order—pending the Court’s consideration of this case.1

       The Governor’s Order forced counties election administrators to close—with less than a

day of notice—any additional drop-off sites, even though they were already in use and had been

advertised to voters, based solely on unexplained “security” concerns that have no basis in fact.

That action violates Plaintiffs’ First and Fourteenth Amendment rights by posing an undue—and

arbitrarily unequal—burden on their right to vote that is not justified by any state interest.

                                  FACTUAL BACKGROUND

I.     The Governor’s July 27 Order Expanding Early Voting Days and Permitting
       Absentee Ballot Drop-Off Prior to Election Day

       On July 27, 2020, Governor Greg Abbott issued an Executive Order—using his emergency

powers—extending the number of early in-person voting days by one-week in order to allow

election officials to “implement appropriate social distancing and safe hygiene practices,” and as



1
  As evidenced in the Certificate of Service, Plaintiffs’ counsel have provided notice to
Defendants’ counsel of this Motion, and have provided declarations demonstrating the immediate
and irreparable harm that will result to movant if a temporary restraining order is not expeditiously
entered pending resolution of Plaintiffs’ motion for a preliminary injunction. See Fed. R. Civ. P.
65(b)(1)(A) & (B).

                                                  1
          Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 4 of 32




relevant here, providing that Texas absentee voters could “deliver a marked mail ballot in person

to the early voting clerk’s office prior to and including on election day.” Ex. 1 (July 27 Order). In

issuing the Order, Governor Abbott stated that “it is necessary that election officials implement

health protocols to conduct elections safely and to protect election workers and voters,” and that

“strict compliance with the statutory requirements . . . of the Texas Election Code would prevent,

hinder, or delay necessary action in coping with the COVID-19 disaster.” Id.

       In light of Governor Abbott’s July 27th order, multiple Texas Counties either opened or

planned to open mail-in ballot drop-off locations at early voting clerk’s offices throughout their

respective counties. The Harris County Clerk, for example, opened 11 locations for voters across

the county to drop off their mail-in ballots, see ECF No. 8 (“Hollins Decl.”) ¶ 14, the Travis County

Clerk opened 4 locations, Ex. 15 (Travis County Social Media) and the Fort Bend County Clerk

announced that his office would soon be opening multiple locations, Ex. 16 (Fort Bend Statement).

Defendant Hughs took no issue with county clerks opening multiple absentee ballot return

locations, and instead, explicitly advised county clerks that it was permissible. Indeed, on

September 30, 2020, the State of Texas told the Texas Supreme Court that, “the Secretary of State

has advised local officials that the Legislature has permitted ballots to be returned to any early-

voting clerk office.” Ex. 2 (SOS Brief) at 5. Similarly, no other Defendant in this litigation raised

any ballot integrity concerns about county clerks opening multiple absentee ballot return locations,

despite knowing of counties’ intention to do so since shortly after the July 27 order was issued,2




2
 See, Shelley Childers, Harris Co. Clerk Responds to Mail-In-Ballot Warning from USPS, ABC13
(August 14, 2020) (noting that Harris County would have 11 annex offices open to accept voters’
absentee ballot in advance of November 3), https://abc13.com/2020-election-mail-in-ballot-usps-
mailing-fraud/6371514/.

                                                 2
          Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 5 of 32




and despite knowing that for the July 14, 2020 primary election, at least some county clerks had

also made multiple ballot return locations available (albeit only on Election Day itself).3

II.    October 1 Order

       On October 1—one day after the Secretary advised the Supreme Court of Texas that voters

could lawfully return their absentee ballots to any early-voting clerk office in the county, and just

a few minutes after the Fort Bend County Clerk announced additional drop-off sites—Governor

Abbott issued an Executive Order limiting each county to “a single early voting clerk’s office

location that is publicly designated by the early voting clerk.” Ex. 3 (Oct. 1 Order). Governor

Abbott justified this change as being, “appropriate to add ballot security protocols for when a voter

returns a marked mail ballot to the early voting clerk’s office.” Id. But no added “security

protocols” are actually included in the Governor’s Order.

       The Governor’s Order gave Harris and Travis counties less than 24 hours-notice to close

their satellite ballot drop-off locations. The order did not explain how limiting the number of ballot

drop-off locations meshed with its stated goal of “using the least restrictive means to protect the

health and safety of Texans.” Ex. 3 (Oct. 1 Order). And, because it was issued after voting was

already underway across the state, the order also had to clarify that any absentee ballot delivered

to a satellite drop off location prior to October 2, 2020 would “remain subject to the July 27, 2020

proclamation,” i.e., countable. Id.




3
  See, e.g., Voters Can Drop Off Their Voting by Mail Ballots at These 11 Locations Across Harris
County on Election Day, KPRC2 (July 14, 2020) (identifying the 11 absentee ballot return
locations        open      in       Harris      County         on       July      14,      2020),
https://www.click2houston.com/news/local/2020/07/14/voters-can-drop-off-their-vote-by-mail-
ballots-at-these-11-locations-across-harris-county-on-election-day/.



                                                  3
           Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 6 of 32




III.     The Burden on Voters

         This Order will impose burdens on eligible absentee voters, including individual Plaintiffs

and Organizational Plaintiffs members. See, e.g., Ex. 10 (Edelbach Dec.); Ex. 11 (Mason Dec.);

Ex. 17 (Chimene Dec.); Ex. 12 (Golub Dec.); and Ex. 18 (Berg Dec.); see also Ex. 19 (Smith

Report) ¶¶ 19-25, 28-32; Ex. 20 (Barreto Report) ¶¶ 30-44. Furthermore, the burdens faced by

voters will vary significantly, based solely on what county they live in and where in the county

they live. See, e.g., Ex. 19 (Smith Report) ¶¶ 43-48.; Ex. 20 (Barreto Report) ¶¶ 30-44.

         Harris County has 4,713,325 people—more people than 26 states, Puerto Rico, and the

District of Columbia—spread over 1,800 square miles. Travis County has 1,273,954 people—

more people than 8 states and the District of Columbia—spread over nearly 1,000 square miles.

Fort Bend County has 811,688 people—more than 4 states and the District of Columbia—spread

over 850 square miles. The average commute time for workers is 32.9 minutes in Fort Bend

County, 29.2 minutes in Harris County, and 25.4 minutes in Travis County. Ex. 4 (Commute Time

Data).

         According to Houston County Clerk Christopher Hollins, traveling from Harris County’s

northwest corner to the current location of the main election office is more than a 100-mile round

trip. ECF No. 8-1 (Hollins Dec.) ¶ 4. Harris County is in the fifth largest metropolitan statistical

area (MSA) in the United States.4 As a result, Harris County often has “extreme traffic congestion,”

such that a trip to and from Harris County’s sole location for mail-in ballot drop-off “can easily

take at least half a day by car and all day by public transportation (if any public transportation is

available in the voter’s home area).” ECF No. 8-1 (Hollins Dec.) ¶ 4.


4
  U.S. Census Bureau, New Census Bureau Estimates Show Counties in South and West Lead
Nation in Population Growth, https://www.census.gov/newsroom/press-releases/2019/estimates-
county-metro.html#table6 (last visited Oct. 5, 2020).

                                                  4
          Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 7 of 32




       Harris County is the third most populous county in the country, behind only Los Angeles

County, California and Cook County, Illinois. Cook County currently has 53 drop-boxes for mail

ballots.5 Los Angeles County has over 400 drop boxes.6 In Maricopa County, Arizona, the fourth

most populous county in the country, voters can return their mail ballots at any one of the 175 Vote

Centers located across the county, or at any of 17 absentee ballot drop boxes.7 Even Miami-Dade

County, Florida, the seventh most-populous county in the nation, with nearly 2 million fewer

people than Harris County, allows voters to return their absentee ballots at any one of its 33 early

voting locations across the county,8 as well as at the Elections Department’s physical address, and

the Election Department’s branch office.9

       The inadequacy of one drop-off site per county in counties such as Harris County is further

belied by the Election Assistance Commission’s guidance that there should be a drop off location

for every 15,000 to 20,000 registered voters and recommends using different formulas for rural

and urban areas to address travel burdens as well.10 Even adjusting Harris County’s over 2 million




5
      Cook    County,     Ill.   Clerk,     Mail      Ballot    Drop      Box      Locations,
https://www.cookcountyclerk.com/service/mail-ballot-drop-box-locations (last visited Oct. 4,
2020).
6
    Los Angeles County Registrar-Record/County Clerk, Vote by Mil Drop-Off,
https://www.lavote.net/home/voting-elections/voting-options/vote-by-mail/vbm-ballot-drop-off
(last visited Oct. 4, 2020).
7
  Maricopa County Elections Dep’t, Where do I vote?, https://recorder.maricopa.gov/
pollingplace/ (last visited Oct. 4, 2020).
8
  Miami-Dade County Supervisor of Elections, Early Voting Schedule and Official Ballot Drop
Box Information for the 11/03/2020 General Election, https://www.miamidade.gov/
elections/library/2020-general-early-voting-schedule.pdf (last visited Oct 4, 2020).
9
   Miami-Date County Supervisor of Elections, Vote-By-Mail Ballot Return Policy,
https://www.miamidade.gov/elections/library/instructions/vote-by-mail-ballot-return-policy-
en.pdf (last visited Oct. 4, 2020).
10
   Election Assistance Comm’n, Cybersecurity & Infrastructure Agency (CISA) Elections
Infrastructure Government Coordinating Council & Sector Coordinating Council’s Joint COVID
                                                 5
          Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 8 of 32




registered voters to those over 65 and thus eligible to vote absentee, the Governor’s Order

mandates that Harris County flout this standard by a mile.

       According to Google Maps, a drive from Pflugerville, TX in the Northeast corner of Travis

County to Lucky Lake Ranch, in the Southwest corner of Travis County takes 49 minutes one-way

assuming there is zero traffic congestion and that the driver pays a toll. Ex. 5 (Google Maps

Display). A drive from Lucky Lake Ranch to Travis County’s only mail ballot drop-off site takes

at least 35 minutes one way by car, assuming there is no traffic. Ex. 6 (Google Maps Display).

Regardless, reducing Travis County’s sites from four to one will quadruple the demand, and wait

times, at the remaining drop-off site.

       In Fort Bend County, a drive from Woodcreek Reserve, a neighborhood in Katy, Texas, to

Guy, Texas, typically takes 50 minutes one-way, assuming there is no traffic. Ex. 7 (Google Maps

Display). A drive from Fresno, TX to Fort Bend’s only mail ballot drop-off site in Rosenberg, TX

takes, at the very least, 35 minutes one-way, again assuming there is no traffic—an unlikely

occurrence between 8 a.m. and 5 p.m. Monday through Friday, the only times the Fort Bend

County Elections Administration office is open. Ex. 8 (Google Maps Display).

IV.    USPS Delays

       On July 30, 2020, the United States Postal Service (“USPS”) put Defendant Hughs, each

of the State’s 254 county clerks, and voters generally, on notice that Texas’s absentee ballot

application and absentee ballot deadlines risk disenfranchising voters. See Ex. 9 (USPS Letter).

       Under our reading of your state’s election laws . . . certain state-law requirements
       and deadlines appear to be the incompatible with the Postal Service’s delivery
       standards and the recommended timeframe noted above.




Working            Group,                Ballot             Drop          Box                 Paper,
https://www.eac.gov/sites/default/files/electionofficials/vbm/Ballot_Drop_Box.pdf.

                                                6
          Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 9 of 32




       There is a significant risk that . . . ballots may be requested in a manner that is
       consistent with your election rules and returned promptly, and yet not be returned
       in time to be counted.

       The Postal Service asks that election officials keep the Postal Service’s delivery
       standards and recommendations in mind when making decisions as to the
       appropriate means used to send a piece of Election Mail to voters, and when
       informing voters how to successfully participate in an election where they choose
       to vote by mail.

Id.

       The deadline to request an absentee ballot in Texas is October 23. But, as the USPS has

itself stressed, a voter that requests an absentee ballot on the deadline, cannot use USPS to deliver

that ballot with any confidence it will be counted. Moreover, undecided voters who wish to weigh

all the facts of the election cycle before deciding how to cast their ballot cannot use USPS to deliver

their ballots with any confidence that it will be counted.

       USPS’s letter to the State is on the minds of voters. See, e.g., Ex. 20 (Barreto Report) ¶ 27.

Plaintiffs Edelbach and Mason both stated that they are aware of USPS’s significant delays in

delivering mail and are not confident that if they mail their ballots, they will be delivered in time

for them to be counted. Ex. 10 (Edelbach Dec.) ¶ 4; Ex. 11 (Mason Dec.) ¶ 2. Similarly, Joyce

Golub, an active member of Plaintiff League of Women Voters of Texas, stated that over the past

few months, she has “personally experienced delayed mail delivery” at her home, as well as “mail

that simply never arrived.” Ex. 12 (Golub Dec.) ¶ 8. Golub expressed that her vote is “much too

precious” to risk mailing her ballot through USPS and having it either arrive late or not arrive at

all. As a result, she has decided that she “will not mail my ballot under any circumstances.” Id.




                                                  7
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 10 of 32




V.     No Security Interest in Restricting Number of Ballot Drop-off Sites

       The Governor has provided no explanation of the alleged security interest in restricting the

number of ballot drop-off sites.11 Indeed, the record shows the opposite. Harris County—which

actually was operating multiple absentee ballot return locations before the Governor’s order—

demonstrates this. Harris County “arranged to apply the same ballot collection and security

protocols at each drop-off location, whether at election administration headquarters or elsewhere.”

Clerk Hollins testified that “[a]ll ballot drop-off locations are equally secure” and that his office

“trained enough staff regarding election protocols at each location so that two such trained

employees are present at all times while the location is accepting ballots.” Ex. 8-1 (Hollins Dec.)

¶ 16. Specifically, Harris County elections officials were trained to “ensure that (1) the voter signs

a roster (just as they would when voting in-person), (2) the voter presents valid identification to

comply with Section 63.0101 (just as they would when voting in-person), and (3) the voter signs

the carrier envelope (just as they would when sending their ballot by mail).” Id. Hollins described

the mail-in ballot drop-off process as “more secure than the voter using the mail system” because


11
  Perhaps to attempt to make up for this deficiency, Texas House Speaker Dennis Bonnen recently
claimed that Governor Abbott’s October 1 order was made after state leaders received “reports
from the field” of people trying to submit multiple mail-in ballots. KXAN, Lawsuit filed against
Gov. Greg Abbott for limiting ballot drop off locations (Oct. 2, 2020),
https://www.kxan.com/news/us-politics/election/lawsuit-filed-against-gov-greg-abbott-for-
limiting-ballot-drop-off-locations/ (last visited Oct. 4, 2020). Specifically, Speaker Bonnen
claimed that there was a case in Bexar County, where someone attempted to drop off “as many as
40” mail-in ballots. This allegation, however, adds nothing to any security rationale for the
Governor’s Order. First, Bexar County was not immediately impacted by Governor Abbott’s
October 1 order because at the time the order went into effect, it was operating only one drop off
location. Id. Second, the Bexar County Clerk never confirmed this “report,” nor did Speaker
Bonnen indicate any such ballots were accepted, given that returned ballots require presentation
of the voter’s ID. Id. Third, given the protocols in place at every drop-off location, such a scheme
would be identified regardless of which drop-off location was used. It would make no sense for a
person seeking to fraudulently submit multiple mail-in ballots to use a drop-off location rather than
the U.S. mail.



                                                  8
            Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 11 of 32




“the ballots are kept in sealed, secured boxes from the moment they leave the voter’s hand. Id. ¶

17.

VI.     Sudden Burdens on Election Officials

        Harris County Clerk Hollins has also testified to the significant administrative burden of

reducing the number of mail-in ballot drop-off locations from 12 to 1. He “conducted detailed

modeling and analysis to determine the likely turnout, methods of voting that voters may choose,”

and determined “the best allocation of resources to meet voter demand without creating long lines

or other circumstances where social distancing would not be possible.” Id. ¶ 14. Explaining that

the ballot drop-off locations had been set since mid-July, Hollins indicates that the Governor’s

Order is “causing voter confusion.” Id. ¶ 20. He also warned that the forced reduction “will

increase congestion as the volume of ballot returns increases over the next few weeks.” Id. Finally,

Hollins expressed that the Governor’s Order “burdens the Clerk’s Office administratively,” by

forcing the county to “change [its] voter education materials, [its] website, and [its] staff training.

Id. ¶ 25.

                                            ARGUMENT

        To succeed on a motion for a temporary restraining order or for a preliminary injunction,

Plaintiffs must show “(1) a substantial likelihood of success on the merits, (2) a substantial threat

that plaintiffs will suffer irreparable injury if the injunction is not granted, (3) that the threatened

injury outweighs any damage that the injunction might cause the defendant, and (4) that the

injunction will not disserve the public interest.” Planned Parenthood v. Sanchez, 403 F.3d 324,

329 (5th Cir. 2005). Plaintiffs make that showing here.




                                                   9
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 12 of 32




I.      Plaintiffs Are Likely to Succeed on the Merits of their First and Fourteenth
        Amendment Claim of Discriminatory, Undue Burdens on the Right to Vote.

        Plaintiff are likely to succeed on the merits of Count 1 of their Complaint, which alleges

that the Governor’s Order restricting the number of absentee ballot drop-off sites imposes a

discriminatory and undue burden on their right to vote in violation of the First and Fourteenth

Amendments. When analyzing the constitutionality of a restriction on voting, the Court “must

weigh ‘the character and magnitude of the asserted injury to the rights protected by the First and

Fourteenth Amendments that the plaintiff seeks to vindicate’ against ‘the precise interests put

forward by the State as justifications for the burden imposed by its rule,’ taking into consideration

‘the extent to which those interests make it necessary to burden the plaintiff’s rights.’” Burdick v.

Takushi, 504 U.S. 428, 434 (1992) (quoting Anderson v. Celebrezze, 460 U.S. 780, 789 (1983)).12


12
   Defendants Abbott and Hughs have previously suggested that under Supreme Court precedent,
there is no right to vote by mail. For several reasons, this argument has no purchase here. First,
this is not a case about whether or which voters have a right to cast their ballot by mail—it is
undisputed that the individual Plaintiffs and the Organizational Plaintiffs’ affected members
unequivocally have such a right under Texas law. See Tex. Elec. Code § 82.003. As such, Texas
has a constitutional obligation to ensure this right is not abridged in a manner that is either arbitrary
or discriminatory. See Bush v. Gore, 531 U.S. 98, 104-05 (2000) (“Having once granted the right
to vote on equal terms, the State may not, by later arbitrary and disparate treatment, value one
person’s vote over that of another.”). The Governor’s October 1 Order fails that test.
Second, Defendants Abbott and Hughs have relied on McDonald v. Bd. of Election Comm’rs of
Chi., 394 U.S. 802, 807-09 (1969) for their proposition that vote by mail practices get little to no
constitutional scrutiny. In McDonald, the Supreme Court rejected a claim by pretrial detainees that
the state had denied them equal treatment under the law by denying them access to absentee ballots.
Id. at 811. The Court applied rational basis review because it found that the right being denied was
“not the right to vote . . . but a claimed right to vote absentee,” id. at 807, and denied the plaintiffs’
claim because they had not offered any proof that they had been “absolutely prohibited” from
exercising the franchise, id. at 809. But McDonald is no longer good law. See Goosby v. Osser,
409 U.S. 512, 521 (1973) (declining to follow McDonald and permitting a claim to proceed based
on evidence that alternative means of voting were unavailable); O’Brien v. Skinner, 414 U.S. 524,
529, 531 (1974) (again declining to follow McDonald and holding that McDonald “rested on
failure of proof” rather than absence of a right to equal protection); Am. Party of Tex. v. White, 415
U.S. 767 (1974) (abandoning McDonald’s reasoning and finding that minor party voters had a
right to vote absentee in their primary where that right had been extended to major party voters,
notwithstanding that minor party voters had the alternative option to vote in-person); see also Tex.
                                                   10
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 13 of 32




When a burden on the right to vote is severe or discriminatory, the regulation must be “narrowly

drawn to advance a state interest of compelling importance.” Id. (quoting Norman v. Reed, 502

U.S. 279, 289 (1992)) (emphasis added). When a state imposes “reasonable, nondiscriminatory”

election regulations, its “important regulatory interests are generally sufficient to justify the

restrictions.” Tex. Independent Party v. Kirk, 84 F.3d 178, 182 (5th Cir. 1996). Slight or moderate

burdens that fall between the two extremes are subject to a flexible standard that requires the court

to make “the ‘hard-judgments’ common in ordinary litigation,” Voting for Am. v. Steen, 732 F.3d

382, 388 (5th Cir. 2013). “[I]rrespective of whether the burden is classified as ‘severe,’ ‘moderate,’

or even ‘slight,’ ‘it must be justified by relevant and legitimate state interests sufficiently weighty

to justify the limitation.’” Richardson v. Tex. Sec’y of State, No. SA-19-cv-00963-OLG, -- F. Supp.

3d --, 2020 WL 5367216, at *35 (W.D. Tex. Sept. 8, 2020) (quoting Common Cause/Ga. v. Billups,

554 F.3d 1340, 1352 (11th Cir. 2009)).

       Because the Governor’s one-site-per-county rule is discriminatory against voters in

Texas’s most populous and geographically large counties—counties that on both scores have

disproportionately large minority populations—the restriction should be subjected to strict

scrutiny. See Burdick, 504 U.S. at 434. But even under intermediate or rational basis scrutiny, the

evidence shows the State lacks any weighty interests sufficient to justify the burden.




Democratic Party v. Abbott, 2020 WL 5422917 at *17 (5th Cir. Sep. 10, 2020) (noting the prior
motions panel’s failure to wrestle with Am. Party in relying on McDonald). American Party
abrogated McDonald entirely and Defendants cannot rely on it here.



                                                  11
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 14 of 32




       A.      The Governor’s Order Imposes a Significant and Discriminatory Burden on
               Voters

               1.      The Governor’s Order Imposes Significant and Unnecessary Burdens
                       on Voters

       Under Texas law, so long as a voter returns their absentee ballot to their local county clerk

by no later than (1) before polls close on election day, or (b) not later than 5 pm on the day after

the election if the ballot was postmarked before election day, their vote may be counted. See Texas

Elec. Code § 86.007. Typically, the ballot must be returned either by mail, contract carrier, or in-

person if delivered to the early voting clerk’s office while polls are open on election day. Id. at

§ 86.006. But Governor Abbott’s July 27 Order changed the typical requirements of the Texas

Election Code by providing voters with the option to return their absentee ballot in person to their

county clerk early, rather than waiting until election day to do so. The Governor implemented this

change because “strict compliance with the statutory requirements . . . of the Texas Election Code

would prevent, hinder, or delay necessary action in coping with the COVID-19 disaster.” Ex. 1

(July 27 Order).

       The Governor was right. On July 30, 2020, just three days after his July 27 Order, the USPS

sent a letter to Secretary Hughs warning that based on USPS’s delivery performance, it would be

virtually impossible for some absentee voters to timely return their absentee ballot for counting by

mail. See Ex. 9 (USPS Letter) at 2 (noting the incompatibility between Texas law, under which a

voter may request an absentee ballot up to 11 days before the election and may not be sent the

ballot until 7 days later, and USPS delivery standards which require the voter to mail their ballot

at least 7 days prior to the counting deadline in order to arrive on time). Combining this reality

with the expected upsurge in mail voting, see, e.g., ECF No. 8-1 (Hollins Dec.) ¶ 11, and the need

to reduce congesting at polling locations on Election Day given the COVID-19 crisis, additional



                                                12
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 15 of 32




days on which to return mail ballots by hand are critical to ensuring that absentee voters’ ballots

are actually counted. See generally Ex. 1 (July 27 Order).

       But permitting absentee voters to return their ballot early only alleviated one part of their

burden. That is because, in a state as large and geographically diverse as Texas, voters in certain

counties might still not be able to return their absentee ballot if only permitted to do so to one

location. See ECF No. 8-1 (Hollins Dec.) ¶ 14 (describing the rigorous study undertaken by Harris

County to determine the most efficient way to facilitate voting in November). For some voters, the

significant distance between their home and the single absentee ballot return location could act as

a significant deterrent to using the in-person delivery option. See infra Part I.A.2 (describing the

distance voters in Harris County would need to travel in order to return their absentee ballot); see

also, e.g., Ex. 10 (Edelbach Dec.) ¶ 7 (noting that it would take him about an hour-and-a-half

roundtrip to travel from his home to the NRG Arena). Worse, the congestion and unreasonable

wait times that are likely to result from allowing only a single in-person ballot return location at a

time when mail voting is skyrocketing can serve as a strong deterrent. See ECF No. 8-1 (Hollins

Decl.) ¶ 20 (“If we are forced to reduce to one location, I anticipate that toward the end of the early

voting and especially on Election Day, we will see massive lines to return ballots in person.”); see

also, e.g., Ex. 11 (Mason Dec.) ¶ 3–4 (noting that the combination of a long drive to the ballot

return location, combined with long wait times once there, raises serious concerns about the risk

of exposure to COVID-19 as a result of, for example, having to use public restroom facilities while

away from home for such an extended period of time). This is particularly true since the only

people able to use these locations are precisely those voters at high risk for COVID-19—those




                                                  13
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 16 of 32




voters over 65 and/or with disabilities—and who will be taking as many precautions as possible to

avoid crowded places.

        Recognizing the significance of these burdens, some counties, including the populous

Harris, Travis, and Fort Bend counties made, implemented, and advertised to voters a plan to make

available multiple ballot return locations. See supra Factual Background. Such a plan was

consistent with the Governor’s order. See Ex. 2 (SOS Brief) at 5 (noting that “the Secretary of

State has advised local officials that the Legislature has permitted ballots to be returned to any

early-voting clerk office”). And it was also based on the considered judgment of county clerks

who are actually responsible for running Texas’s elections. See, e.g., ECF No. 8-1 (Hollins Dec.)

¶¶ 14-17.

        The Governor’s Order restores the burdens that the county clerks’ actions were intended to

alleviate. Thus, for voters who, for whatever reason, receive or become ready to return their

absentee ballot later in the election cycle but still before the statutory deadline,13 the only way to



13
   It is no defense for Defendants to argue that absentee voters could simply choose to vote sooner,
or place their ballot in the postal mail sooner, to ensure that it arrives on time. First, as noted above
not all voters will have that option. Under Texas law, voters have a statutory right to request a mail
ballot until October 23, 2020. See Tex. Elec. Code § 86.0015(b-1). And county clerks are only
required to mail the voter a ballot within seven days of processing the application. Id. § 86.004.
Thus, as the USPS noted in its July 30 letter, some voters—who act consistently with the State’s
statutory deadlines—simply may not receive their ballot in enough time to timely return it by mail.
Second, voters have a First Amendment right to actually consider their vote, and to wait until they
feel they have enough information to make a considered choice before returning their ballot. See,
e.g., Berg Decl. ¶ 3 (noting the length of the Harris County ballot and his desire to take the
necessary time to review his choices and make an informed decision). While that may not require
much time for some voters, others may need more time, particularly considering that new
information about a candidate is often revealed in the days and weeks before Election Day. For
such voters, it cannot be the case that simply because they elected to vote safely by absentee ballot,
they also unwittingly submitted to an earlier Election Day and waived their ability to consider all
the information (including, for example, the ongoing planned Presidential debates) before casting
their ballot.


                                                   14
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 17 of 32




return their ballot and ensure it is actually counted will be either (1) to hope that USPS will be able

to timely deliver their ballot notwithstanding its own insistence that it will not be so able, or (2) to

endure a long drive to, a long wait time at, or both a long drive and a long wait time at the single

ballot return location in their county. See supra. For many voters, either choice—which the

Governor’s order makes impossible to avoid—imposes a serious burden on their right to vote.

               2.      The Governor’s Order Imposes Discriminatory Burdens on Voters.

       The burdens of the Governor’s Order do not fall evenly on all voters. Instead, the Order

mandates disparate burdens based on where voters live and has predictable disparate impacts on

minority communities.

       First, the Governor’s Order discriminates against people living in Texas’s most populous

counties by disregarding the extreme variation in demand for access to the drop-off sites among

counties.14 As of January 2020, Harris County had 2.37 million registered voters and 1,012

precincts.15 Travis had nearly 815,000 registered voters and 247 precincts. Id. Fort Bend had over

450,000 registered voters and 159 precincts. Id. Other Texas counties have magnitudes fewer

registered voters. For example, Loving County has 116 registered voters and 4 precincts,


14
   Plaintiffs are mindful that regardless the Governor’s order, not all counties intended to open
more than one absentee ballot return location. But whether such counties must open additional
ballot return locations is not a question this Court need grapple with here for two reasons. First,
Plaintiffs are not arguing that the Constitution requires any individual county to provide multiple
ballot return locations, but simply that where counties have already determined that multiple
locations are needed to adequately serve voters, the Governor cannot arbitrarily veto that
determination without reasonable justification. Second, the Governor’s order entirely forecloses
the option to offer multiple ballot return locations, which at least some counties have made clear
are necessary to alleviate the serious burdens their voters would otherwise face on their right to
vote. There is a serious difference between allowing county election officials to assess the needs
of their voters and provide a menu of options to serve those needs—leading to different menus
even in different counties of similar size—and imposing a one-size-fits-all policy on counties that
bear no reasonable resemblance to one another.
15
   See Tex. Sec’y of State, January 2020 Voter Registration Figures, https://www.sos.state.tx.us/
elections/historical/jan2020.shtml (last visited Oct. 2, 2020).

                                                  15
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 18 of 32




Armstrong County has 1,441 registered voters and 9 precincts, Coke County had 2,337 registered

voters and 4 precincts, and Upton County had 2,131 registered voters and 6 precincts. Id. Texas

has 254 counties, most with substantially fewer voters and precincts than the handful of Texas’s

most populous counties. Id. By limiting voters to a single drop-off site regardless of the county’s

population, the Governor’s Order imposes a discriminatory burden on the populous counties’

voters. This includes substantially increasing congestion and wait-time for submitting ballots,

requiring voters in populous counties to endure significant traffic delays to reach the single drop-

off site, and requiring longer public transportation commutes to the single site—with the attendant

increased COVID exposure for those seeking to return absentee ballots (by law, limited to those

over 65 and with disabilities).

       For example, Mr. Hollins has testified that Harris County contains 14% of all the registered

voters in Texas, has a population of 4.7 million people, and currently has 2.4 million registered

voters. Id. ¶ 4. Harris County is also the fourteenth largest county in Texas based on geography,

“stretching [ ] nearly 1,800 square miles.” Id. The reduction from 12 ballot drop-off sites to a single

site substantially increases the burden on voters seeking to return their ballots. “Traveling from

the County’s northwest corner to the current location of the main election office is more than a

100-mile round trip,” Mr. Hollins explains. Id. Traffic exacerbates that burden. “As an urban

county, Harris County often has extreme traffic congestion – even during the pandemic – and

traveling across the county to a central location and back can easily take at least half a day by car

and all day by public transportation (if any public transportation is available in the voter’s home

area).” Id. (emphasis added). The problems with the postal service exacerbate the burden the

Governor’s Order has imposed. “Particularly because of the widely-publicized problems with the

U.S. Postal Service, some voters may have trouble receiving their ballot until close to Election



                                                  16
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 19 of 32




Day, and will thus have to return their ballot in person in order to ensure it is returned on time.”

Id. ¶ 20. Mr. Hollins has explained that “[i]f we are forced to reduce to one location, I anticipate

that toward the end of the early voting and especially on Election Day, we will see massive lines

to return ballots in person.” Id. (emphasis added). Massive lines are precisely the danger that the

Governor’s July 27 Order and Clerk Hollins’ careful planning were designed to prevent. Massive

lines—of people over 65 and/or with disabilities—during this epidemic are a recipe for disaster in

light of the ongoing pandemic.

       Thus, the Governor’s Order will impose an impossible burden for some. As Mr. Hollins

testified, “voters without reliable transportation will be unable to get to NRG Arena from their

homes (which could be more than fifty miles away) in time to have their vote counted.” Id.; see

id. ¶ 23 (“The size of the County, and the location of our Houston headquarters, would make it

difficult, if not impossible, for some voters to return their ballots to only that single drop-off

location. This will undoubtedly force some voters to decide if they will risk their health by voting

in person or if they instead will not vote at all. No Texas voters should have to make that

decision.”); id. ¶ 24 (“In my experience, rural voters, and voters without access to transportation

have the hardest time traveling significant distances to vote or drop off their ballots.”); see also

Ex. 11 (Mason Dec.) ¶ 3 (expressing concern about long lines and hour-long drive to reach single

drop-off site in Travis County); Ex. 10 (Edelbach Dec.) ¶ 6 (testifying that NRG Arena in central

Houston is a 36 mile drive from his house).

       Second, the Governor’s Order discriminates against those living in Texas’s geographically

largest counties, by preventing the county election officials from spreading the location of drop-

off sites throughout the county in a way to reduce travel time. Texas’s largest counties by land area

are generally located in the southwestern area of the state. For example, Pecos has 4,763 square



                                                 17
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 20 of 32




miles, Presidio has 3,855 square miles, Val Verde has 3,134 square miles, and Harris is nearly

1,800 square miles.16 By contrast, Camp County has 196 square miles, Walker County has 784

square miles, Sabine has 491 square miles, and Delta has 256 square miles. Id. As Mr. Hollins

explained, a Harris County driver could require half a day to return a ballot to its single location,

while a person taking public transportation may require an entire day. ECF No. 8-1 (Hollins Dec.)

¶ 4.

       Third, the Governor’s Order has a racially discriminatory impact because Texas’s most

populous counties, and its geographically largest counties, are both disproportionately Black and

Latino, while its least populous, and geographically smallest, counties are disproportionately

white. Harris is both the most populous Texas county and one of the state’s geographically largest,

but only 29.54% of its residents are white. Ex. 13 (Tex. Demographic Center Data). Only 33.62%

of Fort Bend County’s residents are white. By contrast, Texas’s geographically smallest and/or

least populous counties are disproportionately white. For example, 90.71% of Armstrong County

residents are white, 83.72% of Sabine County residents are white, 80.18% of Delta County

residents are white, 78.21% of Coke County residents are white, and 75.53% of Loving County

residents are white. Id.

       Even within the most populous counties, there are racial disparities that yield disparate

burdens of the Governor’s Order by race. For example, in Harris County, white workers make up

only 29.54% of the population but only 18.6% of those who rely on public transportation, while

Black workers make up 35.7% of those who rely upon public transportation, but only about 20%

of the County’s population. Ex. 14 (Harris County Public Transportation Data). Minority voters



16
  U.S. Census Bureau, QuickFacts Texas, https://www.census.gov/quickfacts/fact/table/TX/
LND110210#LND110210 (last visited Oct. 2, 2020).

                                                 18
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 21 of 32




within Harris County are thus the most likely to be discriminatorily burdened by the need to

potentially spend an entire day, ECF 8-1 (Hollins Dec.) ¶ 4, commuting to the single Harris County

ballot drop-off site.

        B.      The Governor’s Order Also Worsens Election Officials’ Administrative
                Burdens and Complicates their Effort to Provide a Safe and Secure Ballot
                Return Process.

        Making matters even worse, the Governor’s Order is particularly burdensome because it

comes days after absentee voting in Texas had already begun, and after counties had already

opened, or announced plans to open, multiple satellite ballot drop-off sites. Such late-breaking

changes to the rules should not be countenanced, particularly from the State of Texas, which has

repeatedly argued before federal courts in the past weeks and months that it is too late to change

the rules to accommodate voters’ needs. The Governor’s Order contributes to voter confusion and

imposes unnecessary administrative burdens on the local election officials who must comply with

it in the middle of running an election during an unprecedent national crisis. This is something the

State has decried in federal court. Ex. 21 (SOS Reply Brief, Hughs v. Tex. Democratic Party, et

al., No. 20-50683) at 12 (noting the need to provide “certainty” to voters and that voters should be

entitled to “rely on announced polling locations and trust that early voting polling places will

remain open throughout the early voting period”). The State cannot have it both ways: arguing

before federal courts that rules alleviating burdens on voters cannot be implemented because it is

too late while issuing gubernatorial edicts with less than 24-hours’ notice upending local election

officials’ carefully calibrated plans. The Governor is not an election official; at this point in the

election cycle, this Court should give all due deference to the needs of local election officials to

proceed as they had planned.




                                                 19
            Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 22 of 32




       As Chris Hollins, Harris County Clerk has testified, “[t]his last minute change to election

procedures is causing voter confusion.” ECF No. 8-1 (Hollins Dec.) ¶ 20; see also id. ¶ 25 (noting

that county election officials, who have many other election-related tasks to accomplish for the

already underway election, are being forced to field calls from voters and other interested

constituencies about the impact of the Governor’s order). This is so, Mr. Hollins explains, because

Harris County’s “multiple ballot drop-off locations ha[d] been advertised to voters via social

media, media interviews, and other methods.” Id. ¶ 21. The County’s Harris Votes website

announced the locations, id. Ex. F at 2, which were set since mid-July, id. ¶ 14. The shifting rules

also create the potential for unfounded challenges to voters; for that reason Mr. Hollins explains

that “it is very important that the legality of methods of returning mail-in ballots be very clear.”

Id. ¶ 6 (emphasis in original). Moreover, in light of the Governor’s Order hastily issued on one

day’s notice, clerks “are having to change our voter education materials, our website, and our staff

training.” Id. ¶ 25. Thus, the Governor’s order thus harms the orderly administration of the

election.

       In recent months, it is exactly these types of “precipitous changes to the [election] rules”

that the state has successfully argued to the Fifth Circuit “can cause ‘confusion’ and even

undermine public confidence in the outcome of the election itself.” See, e.g., State’s Opening Br.,

Texas Democratic Party v. Abbott, Case No. 20-50704 (5th Cir. Jun. 29, 2020) (arguing that

“precipitous changes to the [election] rules (citing Purcell v. Gonzales, 549 U.S. 1 (2006)). Indeed,

as the State argued just 2 days before the Governor’s Order was issued, “[t]he 2020 election is

already underway.” See Emergency Motion for Stay, Texas Alliance for Retired Americans v.

Hughs, Case No. 20-40643 (5th Cir. September 28, 2020). Whether or not the State was right in

making these arguments, at the very least, it cannot have it both ways: arguing in one court that it



                                                 20
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 23 of 32




is too late to make changes to the election, and then arguing in this court that it is not. Cf. Tex.

Alliance for Retired Americans v. Hughs, No. 20-40643, 2020 WL 5816887, at *1 (noting that

importance of not “alter[ing] the election rules on the eve of an election”). And the Fifth Circuit’s

repeated recent orders indicating that it is too late to change the election rules should weigh heavily

in this Court’s analysis of the appropriateness of the Governor’s action here. See id.; Tex.

Democratic Party v. Abbott, 961 F.3d 389 (5th Cir. June 4, 2020) (enjoining election changes one

month and ten days before the election); see also RNC v. DNC, 140 S. Ct. 1205, 1207 (2020)

(noting voter confusion caused by last minute changes to election rules); Purcell, 549 U.S. at 4

(same). After all, the Governor is not an election official. So it is not at all clear why the Governor’s

interference with election machinery at this late stage of the game should be treated differently

than a court order.

        C.      The Governor’s Order Is Not Justified By Its Purported Interest In Advancing
                Election Security.

        Governor Abbott justifies his Order by asserting a need “to add ballot security protocols”

at absentee ballot return locations. Ex. 3 (Oct. 1 Order) at 1. But the Order does not require county

officials to actually “add” any additional security measures, and instead only forces them to reduce

the number of ballot return locations to one per county. Id. Put differently, the actual ballot security

protocols required before and after the Governor’s order are identical, with the only difference

being that now they will only be applied in one location rather than multiple. Such a reduction in

voters services does not serve to enhance election security, and may even degrade it instead.

        In Harris County, for example—which, before the Governor’s order, had set up the most

ballot drop off locations of any county in the State—the election security protocols at each of the

12 sites, including the one that now remains in light of the Governor’s order, were “the same” and

“equally secure.” ECF No. 8-1 (Hollins Dec.) ¶ 16. The security measures included having two

                                                   21
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 24 of 32




trained staff present at the drop off location at all times that it would be open, and having those

staff ensure that each voter signed the roster, provided valid identification, and signed the ballot

carrier envelope. Id. They also included using a “mail ballot tub” to receive the voted absentee

ballots, which is a locked ballot box—sealed by tamper-proof seals— that has “a slit large enough

for a ballot carrier envelope but small enough that fingers or tools cannot be forced inside the box

to tamper with ballots.” Id. ¶ 17. And they required the mail ballot tub to be returned to the election

administration’s headquarters each day for processing by a pair of employees. Id.

       Because the ballot security measures at the single remaining drop off location in Harris

County are (and remain) no different than those that were being taken at the 11 other now-closed

locations, id. ¶ 16, the Order requiring that only one drop off location be used cannot be justified

as necessary to “add ballot security protocols.”

       The Governor’s Order actually reduces ballot security. By ordering a reduction down to

one ballot return location per county, it is nearly certain that fewer absentee voters will drop their

ballots off in person. See ECF No, 8-1 (Hollins Dec.) ¶¶ 22, 32. This matters because the use of

drop off sites by voters returning mail-in ballots in person “is more secure than returning by mail

because (1) there is no danger of tampering or loss of the ballot in transit and (2) voters who return

ballots in person must sign a roster and present voter ID.” Id. ¶ 32; see also id. ¶ 22 (“Reducing

the drop-off locations from twelve to one will not enhance security of the ballots in any way, as it

will force more voters to use USPS rather than see their ballot securely delivered straight to a

sealed, secure ballot box.”). Thus, to the extent Defendants have a genuine interest in actually

enhancing election security, they should promote counties setting up multiple convenient drop-off

locations and encourage voters to use them. Unfortunately, the Governor’s Order takes the

opposite approach.



                                                   22
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 25 of 32




        While “[a] State indisputably has a compelling interest in preserving the integrity of

its election process,” the assertion of such an interest does not require the Court to rubber stamp

the State’s actions where they do not actually serve such a purported interest. Eu v. San Francisco

County Democratic Central Comm., 489 U.S. 214, 231 (1989). Rather, the state must “show[] that

its regulation . . . is necessary to the integrity of the electoral process.” Id. Defendants cannot carry

their burden. To the contrary, the overwhelming weight of the testimony—provided by local

election officials that are actually responsible for running the State’s elections—is that the

Governor’s Order will not enhance ballot security, and perversely, will instead have the overall

effect of harming it.

        The Court should therefore not countenance the State’s unsupported and plainly contrived

justification of the Governor’s Order as necessary to the election’s integrity. Rather, it should find

that election integrity in fact requires the Governor’s order to be enjoined, and the election

conditions returned to their status quo ante.


                                           *       *       *

        Ultimately, weighing the substantial burden that the Governor’s order imposes on voters

and election officials while an election is ongoing against the cursory justification Governor

Abbott has provided for it, it is evident that the Governor may not arbitrarily force counties to

restrict voters’ ability to return their absentee ballot to a single return location. The status quo ante

should be restored.

II.     Plaintiffs Are Likely to Succeed on their Equal Protection Claim.

        Plaintiffs are likely to succeed on their Equal Protection claim because the Governor’s

Order is not “consistent with [the State’s] obligation to avoid arbitrary and disparate treatment of

the members of its electorate.” Bush v. Gore, 531 U.S. 98, 105 (2000). It is well-established that

                                                   23
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 26 of 32




“once the franchise is granted to the electorate, lines may not be drawn which are inconsistent with

the Equal Protection Clause of the Fourteenth Amendment.” Harper v. Virginia Bd. of Elections,

383 U.S. 663, 665 (1966). And it is likewise well-established that “[t]he right to vote is protected

in more than the initial allocation of the franchise [and] Equal protection applies as well to the

manner of its exercise.” Bush, 531 U.S. at 105; see also Jones v. United States Postal Serv., 2020

WL 5627002, at *19 (S.D.N.Y. Sept. 21, 2020) (“[E]ven the nuts and bolts of election

administration must comport with equal protection.”). Indeed, every “citizen has a constitutionally

protected right to participate in elections on an equal basis with other citizens in the jurisdiction.”

Dunn v. Blumstein, 405 U.S. 330, 336 (1972); see also Gray v. Sanders, 372 U.S. 368, 380 (1963)

(“The idea that every voter is equal to every other voter in his State, when he casts his ballot in

favor of one of several competing candidates, underlies many of our decisions.”); Bush, 531 U.S.

at 104 (stressing “the equal dignity owed to each voter”). Thus, a State violates the Equal

Protection Clause when it fails to meet “the minimum requirement for nonarbitrary treatment of

voters necessary to secure the fundamental right.” Id. at 105.

       The Governor’s Order not only permits, but demands, unequal and arbitrary treatment of

Texas voters. By limiting absentee voting drop-off locations to one per county, the Governor has

tied the delivery of critical election resources to an arbitrary benchmark. County lines do not—in

any way—provide a reasonable measure for the allocation of election resources. Texas has 254

counties ranging in population from 4.7 million people in Harris County to 134 people in Loving

County; and ranging in geographic size from Brewster County, over 6,000 square miles and larger

than the state of Connecticut, to Rockwall County, under 150 square miles. The election resources

needed in Harris or Loving Counties are plainly—and by any reasonable metric—radically

different. And yet, the Governor’s order mandates their equivalence. And the corresponding



                                                  24
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 27 of 32




burden on voters in populous and geographically large counties is both palpable, see supra Part

I.A, and impermissible, see Wesberry v. Sanders, 376 U.S. 1, 17 (1964) (“Our Constitution leaves

no room for classification of people in a way that unnecessarily abridges [the right to vote.]”);

League of Women Voters of Ohio v. Brunner, 548 F.3d 463, 476–78 (6th Cir. 2008) (finding

allegations sufficient to establish “burdens on the exercise of that right depending on where they

live in violation of the Equal Protection Clause”). It is beyond cavil that requiring Harris County

and Loving County to have the same number of in-person voting locations would violate the Equal

Protection Clause. The same Equal Protection principles apply here.

       The Supreme Court has long recognized the arbitrariness of using county lines in allocating

electoral representation; and the same principle applies here. In Gray v. Sanders, the Supreme

Court struck down a county-based electoral procedure for counting votes in the nominating process

for statewide offices. 372 U.S. 368 (1963); see also Bush, 531 U.S. at 107 (citing Gray for the rule

against arbitrary and disparate treatment of voters). In so doing, the Court recognized that the equal

treatment of counties necessarily means the arbitrary and disparate treatment of voters. Id. at 379

(“Georgia gives every qualified voter one vote in a statewide election; but in counting those votes

she employs the county unit system which in end result weights the rural vote more heavily than

the urban vote and weights some small rural counties heavier than other larger rural counties.”).

The Court again recognized this principle in Moore v. Ogilvie, striking down a signature gathering

requirement that used a county unit metric: “This law applies a rigid, arbitrary formula to sparsely

settled counties and populous counties alike, contrary to the constitutional theme of equality

among citizens in the exercise of their political rights.” 394 U.S. 814, 818-19 (1969); see also

Bush, 531 U.S. at 107 (citing Moore).




                                                 25
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 28 of 32




       Our elections are governed by the choices of voters, “not trees or acres” or “farms or cities

or economic interests.” Reynolds v. Sims, 377 U.S. 533, 562 (1964). In other words, the Supreme

Court has long done away with the vestiges of using counties as the appropriate benchmark for

providing equality to voters. See Gray, 372 U.S. at 380 (“There is no indication in the Constitution

that homesite . . . affords a permissible basis for distinguishing between qualified voters within the

State.”). The Governor’s Order is even more troublesome than cases like Bush—where a State has

merely failed to prevent arbitrary and disparate treatment—because the Governor has mandated

such arbitrary and disparate treatment with full knowledge of the disconnect between county lines

and any reasonable metric of the needs of voters or election administration. He has, in essence,

guaranteed certain voters “two, five, or 10 times” or more absentee voting resources than others.

Reynolds, 377 U.S. at 562. Like in Moore, the Governor’s Order “discriminates against the

residents of the populous counties of the State” and “therefore, lacks the equality to which the

exercise of political rights is entitled under the Fourteenth Amendment.” 394 U.S. at 819.

       This is not to say that the Equal Protection Clause mandates precise equality in electoral

resources across localities. However, statewide electoral rules—like the Governor’s Order—

cannot create the opportunity for, or in this case require, disparate treatment of voters. As the Court

in Bush v. Gore explained, “[t]he question before the Court is not whether local entities, in the

exercise of their expertise, may develop different systems for implementing elections.” To be sure,

they can. Here, “we are presented with a situation where a state [official] with the power to assure

uniformity” has not only failed to provide adequate safeguards to voters, as was the case in Bush,

but has required the disparate treatment at issue. 531 U.S. at 109. When a statewide rule is

promulgated like the Governor’s order, “there must be at least some assurance that the rudimentary




                                                  26
          Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 29 of 32




requirements of equal treatment and fundamental fairness are satisfied.” Id. The Governor’s Order

fails that basic test.

III.    Plaintiffs Will Be Irreparably Harmed if the Governor’s Order Is Not Enjoined.

        Because the Order violates Plaintiffs’ fundamental constitutional rights, they will suffer

irreparable harm absent this Court’s intervention. See, e.g., Deerfield Med. Center v. City of

Deerfield Beach, 661 F. 2d 328, 338 (5th Cir. Unit B Nov. 1981) (finding that violations of

fundamental rights are always irreparable) (citing Elrod v. Burns, 347 U.S. 373 (1976)); see also

DeLeon v. Perry, 975 F. Supp. 2d 632, 663 (W.D. Tex. 2014), aff’d sub nom. DeLeon v. Abbott,

791 F.3d 619 (5th Cir. 2015) (“Federal courts at all levels have recognized that violation of

constitutional rights constitutes irreparable harm as a matter of law.”) The right to vote, and to

have one’s vote counted, is a fundamental constitutional right. Reynolds v. Sims, 377 U.S. 533,

562 (1964) (“It has been repeatedly recognized that all qualified voters have a constitutionally

protected right to vote, and to have their votes counted.”) (internal citations omitted). As discussed

above, the October 1 Order violates that constitutional right by placing an unconstitutional burden

on voters, including individual Plaintiffs and Organizational Plaintiffs’ members, see, e.g. Ex. 17

(Chimene Dec.), increasing the risk that their valid, timely cast ballots will not be counted.

Furthermore, it denies voters the equal protection of the law in violation of the Fourteenth

Amendment, by arbitrarily making it more difficult for certain voters to cast a ballot based solely

on where they live within a county, and on which county they live in. This harm is irreparable. See

Deerfield, 661 F.2d at 338 (holding that where a fundamental right is “either threatened or in fact

being impaired . . . mandates a finding of irreparable injury.”) And, even to the extent that the harm

to plaintiffs is mitigated in some way because they have the option of voting in person or mailing

their ballot—it is not, see supra—it is still irreparable. See id. (finding that the existence of



                                                 27
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 30 of 32




alternative means of exercising one’s rights “does not eliminate or render harmless the potential

continuing constitutional violation of a fundamental right.”). Moreover, that alternative may likely

be illusory. As Harris County Clerk Hollins testified, the mail delays may cause voters to receive

their ballots with insufficient time to return them by mail, forcing voters to attempt to reach the

single drop off site or risk their health voting in person. ECF No. 8-1 (Hollins Dec.) ¶ 20.

        Finally, the harm is irreparable because the Order’s infringement on Plaintiffs’

constitutional rights “cannot be undone through monetary relief.” Deerfield, 661 F.3d at 338; see

also Jones v. Governor of Fla., 950 F.3d 795, 828 (11th Cir. 2020) overruled on other grounds, -

- F.3d --, 2020 WL 5493770 (11th. Cir. 2020) (en banc) (“Casting a vote has no monetary value.

It is nothing other than the opportunity to participate in the collective decisionmaking of a

democratic society and to add one’s own perspective to that of his or her fellow citizens. Each vote

provides a unique opportunity to do that. No compensation a court can offer could undo that loss.”).

IV.     The Balance of the Equities Weighs in Favor of Plaintiffs.

        The Governor’s Order violates Plaintiffs’ constitutional rights, thus enjoining it will serve

the public interest. See Ingebretsen on behalf of Ingebretsen v. Jackson Public School Dist., 88

F.3d 274, 280 (5th Cir. 1996) (holding that where a enactment is unconstitutional, “the public

interest [is] not disserved by an injunction preventing its implementation.”); see also, e.g., G & V

Lounge, Inc. v. Michigan Liquor Control Commission, 23 F.3d 1071 (6th Cir. 1994) (“[I]t is always

in the public interest to prevent the violation of a party’s constitutional rights.”); Charles H. Wesley

Educ. Fdn., Inc. v. Cox, 408 F.3d 1349, 1355 (11th Cir. 2005) (“[The . . . cautious protection of

the Plaintiffs' franchise-related rights is without question in the public interest.”). Furthermore,

although the Governor’s Order purports to serve an interest in maintaining the integrity of the

election and combatting voter fraud, the evidence presented herein rebuts any assertion that the



                                                  28
         Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 31 of 32




Order actually serves such a purpose. See supra Part I.B. As such, Plaintiffs’ have demonstrated

that the injury to their constitutional rights outweighs any interest the State may assert, and that

the grant of an injunction will not disserve the public interest. See Byrum v. Landreth, 566 F.3d

442, 445 (5th Cir. 2009). Because the balance of the equities favors Plaintiffs, the Court should

grant the injunction.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs’ motion for a temporary restraining order or

preliminary injunction should be granted.

Dated: October 5, 2020                           Respectfully submitted,

                                                     /s Chad Dunn                        .

Danielle Lang*                                   Chad W. Dunn (Tex. Bar No. 24036507)
Mark P. Gaber*                                   Brazil & Dunn
Ravi Doshi*                                      4407 Bee Caves Road
Molly Danahy*                                    Building 1, Suite 111
Caleb Jackson*                                   Austin, TX 78746
Campaign Legal Center Action                     (512) 717-9822
1101 14th Street NW, Suite 400                   chad@brazilanddunn.com
Washington, DC 20005                             K. Scott Brazil (Tex. Bar No. 02934050)
Tel.: (202) 736-2200                             13231 Champion Forest Drive, Suite 406
dlang@campaignlegalcenter.org                    Houston, TX 77069
mgaber@campaignlegalcenter.org                   (281) 580-6310
                                                 scott@brazilanddunn.com
cjackson@campaignlegalcenter.org
rdoshi@campaignlegalcenter.org
mdanahy@campaignlegalcenter.org

*Pro Hac Vice Pending

Luis Roberto Vera, Jr.
LULAC National General Counsel
The Law Offices of Luis Vera Jr., and Associates
1325 Riverview Towers, 111 Soledad
San Antonio, Texas 78205-2260
(210) 225-3300 (office)
(210) 225-2060 (fax)
lrvlaw@sbcglobal.net

                                                29
        Case 1:20-cv-01006-RP Document 15 Filed 10/05/20 Page 32 of 32




                                 CERTIFICATE OF SERVICE

       I certify that on October 5, 2020, the foregoing was served on all parties of record registered

for CM/ECF notifications, and is also being provided by e-mail to the following counsel for

Defendants.



Defendants Abbott and Hughes: Patrick Sweeten (patrick.sweeten@oag.texas.gov)

Defendant Debeauvoir: Sherine Thomas (sherine.thomas@traviscountytx.gov)

Defendant Hollins: Susan Hays (hayslaw@me.com)

Defendant Oldham: Justin Pfeiffer (justin.pfeiffer@fortbendcountytx.gov)



                                                              /s/ Chad W. Dunn
                                                              Chad W. Dunn




                                                 30
